Case 2:22-cv-01468-LDH-SIL             Document 52         Filed 04/29/25       Page 1 of 1 PageID #:
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Hon. LaShann DeArcy Hall, USDJ
United States District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


                Re:     NuBridge Commercial Lending REO SPV I Inc. v.
                        KA & B Properties, Inc., 145 West Main LLC, and Robert O’Connor
                        EDNY Docket No.: 2:22-cv-01468-LDH-SIL


Dear Judge DeArcy Hall:
         This law firm represents non-party Katia Riquelme, who is a shareholder of KA & B Properties,
Inc., and the ex-wife of Robert O’Connor, as well as the mother and natural guardian of their (Ms.
Riquelme’s and Robert O’Connor’s) two minor children, Nikita and Anna O’Connor.
        In behalf of Ms. Riquelme, we are writing to advise the Court of the death of defendant Robert
O’Connor, who died on January 27, 2025, three days before the motions for the appointment of a receiver
and for summary judgment were filed in this action. We are not in possession of a death certificate;
however, an on-line obituary notice may be found at the link here.
         We understand that, pursuant to FRCP Rule 25, the Court may order the substitution of a proper
party, and believe it is our obligation, as officers of the court, to bring Mr. O’Connor’s death to the
Court’s attention.
       To our knowledge, an estate representative has not yet been appointed. This firm represents Ms.
Riquelme in a related proceeding in Suffolk County, entitled Riquelme v. Console, et al., Sup. Ct. Suffolk
County Index No. 608649/2025. KA & B Properties, Inc. and 145 West Main LLC are named as
defendants therein.

                                                         Respectfully submitted,

                                                         MAZZOLA LINDSTROM, LLP


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